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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

          -v-

 AKAYED ULLAH,                                                    18-cr-16 (RJS)
                               Defendant.                            ORDER


RICHARD J. SULLIVAN, Circuit Judge:

         On consent of the parties, IT IS HEREBY ORDERED THAT Defendant's sentencing will

take place on Thursday, April 8, 2021 at 10:00 a.m. at the Daniel Patrick Moynihan United States

Courthouse, 500 Pearl Street, New York, New York 10007. In light of the flexibility required to

accommodate the planning of in-person proceedings during the pandemic, the Court will issue a

separate order indicating the courtroom in which the sentencing will take place. IT IS FURTHER

ORDERED THAT Defendant’s sentencing submission shall be filed no later than March 25, 2021,

and the government's sentencing submission shall be filed no later than April 1, 2021.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York
                                                    ___________________________
                                                    RICHARD J. SULLIVAN
                                                    UNITED STATES CIRCUIT JUDGE
                                                    Sitting by Designation
